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| UNITED STATES DISTRICT COURT
: EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG MDL NO. 2179
“DEEPWATER HORIZON”
in the GULF OF MEXICO SECTION: J
on APRIL 20, 2010
JUDGE BARBIER

This Document Relates to:

Thong Tran, et al. v.
| BP PLC, et al
| EDLA No. 10-3179

MAG. JUDGE SHUSHAN

CA) 60? 607 607 607 £07 009 6) 6) Oa

ORDER ON PLAINTIFFS’ MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,

IT IS HEREBY ORDERED that Plaintiffs’ ANH NGUYEN, MY TRAN, TUNG
PHAM, TRUNG PHAM, CASANDRA DOAN, KHA! NGUYEN, MY BUI, CH! HUYNH,
HANH LAM, JENNY DOAN, TRANG PHAN, YEN QUACH, HAI DOAN, SUONG
NGUYEN, VINH MAI, and LANG TRAN’S Motion for Leave of Court to Voluntarily
Dismiss Claims Without Prejudice is hereby in all things is GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiffs TONY NGUYEN,
TIFFANY TRAN, HIEU VO and CLIVE DOAN only, as listed on Exhibit “A” attached to
said Motion are hereby dismissed without prejudice. This Order in no way affects the
claims of the remaining Plaintiffs in this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
